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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

ERIC LAMONT TOMAS,

             Petitioner,                               Civil No. 19-cv-12775
                                                       Hon. Matthew F. Leitman
v.

S.L. BURT,

           Respondent.
_______________________________________________________________________/
                                     JUDGMENT

      The above-entitled action came before the Court on a petition for a writ of habeas

corpus. In accordance with the Order entered on this day:

      IT IS ORDERED AND ADJUDGED that the petition for writ of habeas corpus is

DENIED.

      IT IS FURTHER ORDERED that a certificate of appealability is GRANTED.

      IT IS FURTHER ORDERED that permission to appeal in forma pauperis is

GRANTED.

                                                KINIKIA ESSIX
                                                CLERK OF COURT

                                         By:    s/Holly A. Ryan
                                                Deputy Clerk
Approved:

s/Matthew F. Leitman
MATTHEW F. LEITMAN                                           Dated: May 8, 2025
United States District Judge                                 Detroit, Michigan


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